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 6                   IN THE UNITED STATES BANKRUPTCY COURT
 7                      FOR THE NORTHERN DISTRICT OF TEAS
 8                             FORT WORTH DIVISION
 9
10
11   IN RE:
12
13   Shabnam Qasim MD PA
14
15                                  §
16                                  §
17                                  §            CASE NO. 18-43088-MXM-11
18                                  §            Chapter 11
19                                  §
20    DEBTOR                        §
21
22
23
24
25

26                   PATEINT CARE OMBUDSMAN’S FIRST QUALITY OF CARE
27                                         REPORT

28   COMES NOW, Greer A. Smith, MSN, RN, C M S R N , C C M , Patient Care
29   Ombudsman (“PCO”), 1 and pursuant to 11 U.S.C. 333, s u b m i t s his
30   first report.
31       1 The Ombudsman was appointed in the above-captioned

32                   bankruptcy case on September 13, 2018

33                     PATEINT CARE OMBUDSMAN’S FIRST CLIENT CARE
34                                         REPORT

35   COMES NOW, Greer A. Smith, MSN, RN, C M S R N , C C M , Patient Care
36   Ombudsman (“PCO”), 1 and pursuant to 11 U.S.C. 333, s u b m i t s his
37   first report.
38

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39   The Patient Care Ombudsman (“PCO”) was retained by the Court on September

40   13, 2018. Accordingly, the PCO was to file the 1st PCO report to the Court within

41   60 days from date of appointment, November 13, 2018.


42   This first report will focus on information obtained in interview with Dr.

43   Shabnam Qasim, her office administrator at the time Adrian Nolley, direct

44   observations and phone calls to past employees and current patients of the

45   medical practice


46           DESCRIPTION OF GREER A. SMITH, MSN, RN, CMSRN, CCM

47   I have been in nursing since 1994; I began my nursing career as an
48   LVN, (Licensed Vocational Nurse) in 1994. I have clinically practiced
49   in nursing homes, acute care facilities and hospitals as an LVN. In
50   1995 I entered the BSN (Bachelor of Nursing) transition program at
51   The University of Texas in Tyler. I obtained my BSN in 2001. I obtained
52   my Master’s Degree in Nursing Leadership and Management in 2013. Since
53   obtaining my LVN license in 1994, I have worked all major clinical areas
54   of large university based and nonprofit based hospital chains as a
55   bedside clinical nurse. I have worked for major pharmaceutical firm
56   in research and served as RN consultant for an Independent Living
57   Facility in Tyler, Texas. I completed an extensive education in Legal
58   Nurse Consultant training program and was Certified Legal Nurse
59   Consultant. I have performed consulting for both the plaintiff and
60   defense providing legal nurse consulting for law firms in Texas,
61   Arkansas, Louisiana, Oklahoma, and California since that time. I
62   worked one full year as an in-house legal Nurse consultant for a
63   large defense practice in Ft Worth, Texas. I continue to consult with
64   the Smith County, Texas legal system since 2001 in geriatric abuse

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65   and intervention cases. I have previously completed a PCO assignment with
66   the Northern District of Texas and Eastern District of Texas.           I am clinically
67   certified as a Medical Surgical Nurse Clinician since 2013. I also hold
68   certifications in Case Management. I am currently serving as a Clinical Educational
69   Specialist with large local health care entity.
70
71                              DESCRIPTION OF FACILITY
72      Dr. Shabnam Qasim’s medical practice is located at 4819 River Oaks Blvd. in River
73   Oaks, Texas, which is a part of Fort Worth, Texas. The medical practice is in an older
74   strip shopping center, which is anchored by a variety of small store front businesses.
75   The interior of the medical practice resembled that of a typical small medical practice,
76   with sectioned off patient waiting area, and private entry to the medical exam rooms
77   and offices. There was a check in desk separated by large window occupied by two
78   receptionists when I made my visit. The exam rooms were well supplied with the
79   equipment and supplies necessary to conduct normal medical office business. The
80   rooms were clean and orderly. The patient bathroom was clean and orderly and
81   stocked appropriately for medical practice. The signage was appropriate for a small
82   medical practice.
83   Dr. Qasim’s internet identification is still listed under the Privia Medical Group “We
84   Care Clinic” heading, located at http://www.wecareclinictx.com/.
85
86                                  OMBUDSMAN VISITS
87   I visited Dr. Qasim’s office on October 5, 2018, I was introduced to the employees
88   by the office administrator at the time, Adrian Nolley and an explanation/purpose
89   of my visit was provided to each employee and they were encouraged to be open
90   and honest with all communication with me. I first visited with Adrian Nolley, she
91   explained her job description and the office procedural processes that she was
92   attempting to set into place for better patient care record keeping, management
93   of patient prescription delivery and recording processes, attempting to make sure
94   that Dr. Qasim was expedient in closing out her patient medical records in a
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 95   timely manner to provide the data to payors. Adrian discussed the turnover of
 96   staff and the recent loss of a Nurse Practitioner and Physician Assistant related
 97   to the current financial condition of Dr. Qasim’s Practice. I then sat down with
 98   Dr. Qasim for approximately 45 minutes and listened to her explain what she
 99   thought was the reason for her having to file for Bankruptcy Protection. She
100   discussed reimbursement levels from payor sources diminishing and more
101   difficult to collect, staff expenses, general office expenses, and she discussed
102   being monitored by The State of Texas Medical Board for an infraction related to
103   narcotic prescriptions. Dr. Qasim advised me she had now referred her pain
104   patients to certified pain management physicians around the area, however, when
105   reviewing her narcotic prescription records, I did observe some narcotic pain
106   medication prescriptions to about eight patients. I observed one patient that had
107   two DEA controlled prescriptions written on the same day for same medication,
108   on the second prescription was handwritten, “to be filled on---". I did cross check
109   the narcotic prescriptions with drug screen labs for each patient on record, and
110   those complied with requirements.
111   Dr. Qasim discussed with me her interaction and contract with Previa Medical
112   Group, and that in her opinion they had not done as promised, being increase
113   payor reimbursements, reduce her medical practice overhead and streamline the
114   overall medical practice operations. She advised me that she had just stopped
115   doing business with Previa, although some of her billings were still being
116   processed by Previa.    Dr. Qasim discussed her personal financial situation,
117   raising her son, possibility of foreclosure on her home. Dr. Qasim advised me that
118   her sister, whom is Certified Rheumatologist MD was going to join her in her
119   practice, and the revenue stream should improve due to fact this is a specialty
120   practice that typically will generate more income from her sister’s participation.
121   Dr. Qasim advised me that she just wanted to practice medicine and not have to
122   be concerned with all the delicate issues involved dealing with payor sources.
123
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125                                       CLIENTS
126   Dr. Qasim’s office currently has about 105 current and active patients on her
127   roster in which I was provided. In doing some phone calls to patients that had
128   shown recent activity and appointments soon to occur, I compiled a frequent
129   theme of concerns. I heard frequently that patients had great difficulty in
130   getting in touch with Dr. Qasim’s office. Complaints about phone call messages
131   left on office recording machine never returned, issues such as refills not taken
132   care of for weeks, and request for medical records not addressed. Patients
133   advised me that they would see Dr. Qasim in her office, be given a prescription
134   for an antibiotic for example, yet Dr. Qasim’s office would not submit the
135   prescription to their pharmacy.
136
137                                       CLINICAL
138   In the matter of medication prescriptions not being transmitted in a timely
139   manner, this has moderate potential for patient harm. For example, if a
140   patient is examined by Dr. Qasim and determined to have an infection, then
141   the timely administration of appropriate antibiotic is vital to start the healing
142   process, delay of a few days to a week of getting the antibiotic treatment
143   initiated could cause the infection to worsen, with possible sepsis. In the
144   matter of failure to communicate with her patients, Dr. Qasim is not in timely
145   communication to talk to a patient that might be having some type of reaction
146   or interaction with therapy treatment.
147
148
149                             CONCLUSION/CONCERNS
150       My current concerns are derived from the interview with Dr. Shabnam
151   Qasim, her past Administrator of her office Adrian Nolley, current patients,
152   past employees and my personal observations and opinions from all above.
153   I received a call on October 29, 2018 from Adrian Nolley, the past Office
154   Administrator for Dr. Qasim’s office to inform me that she had resigned
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155   from that position on October 15, 2018. We discussed issues related to
156   her deciding to resign and concerns she may have had with operation of
157   Dr. Qasim’s practice. Adrian advised me that frequently, Dr. Qasim would
158   call the office at 7:45 am, when her first appointment was at 8:30 am, and
159   notify staff she was not going to be in office that day. Adrian advised me
160   that sometimes, this occurred two times per week, which would then upset
161   staff and her patients, because they would have to reschedule or miss
162   appointments. Adrian Nolley informed me, which was also knowledge
163   gained in discussions with past employees, that the office staff had high
164   turnover rate, and this was due to the way Dr. Qasim treated her
165   employees, often talking down to them. Adrian informed me that Dr.
166   Qasim had been switching from one office management system or
167   administrator to others frequently. Adrian advised me that Dr. Qasim was
168   very difficult to work with, and not open to advice or guidance from others
169   trying to help her simplify her office operations and assist her to maximize
170   her reimbursements. Adrian advised me that Dr. Qasim was not open to
171   change or had the willingness to allow autonomy to others to do their job
172   without Dr. Qasim interfering or changing valid processes.
173
174   My recommendations are that Dr. Qasim employ an office administrator
175   that has the education, knowledge, and proven skills to operate a medical
176   practice efficiently and productively. That with this administrator, Dr.
177   Qasim allow autonomy to perform her job without trying to interfere. I
178   would recommend that Dr. Qasim be more open to change and accepting
179   assistance from those that understand medical clinic operational and
180   revenue generation the best. I recommend that Dr. Qasim immediately
181   designate one employee to answer phone calls during office hours, and an
182   employee to play back office phone recorder messages twice per day for
183   vital messages. I recommend that Dr. Qasim designate one employee to
184   make certain all medication prescriptions, medical records, and
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185   correspondence is done in a safe and timely manner. I will continue to
186   monitor this practice and pay special attention to the areas I have
187   mentioned that cause me concern.
188

189
190                                                                  /s/Greer A. Smith
191                                          Greer A. Smith, MSN, RN, CMSRN, CCM
192                                                        8181 Midtown Blvd. # 7109
193                                                                   Dallas, TX 75231
194                                                                      903-571-7725
195                        PATIENT CARE OMBUDSMAN FOR US TRUSTEE/ COURT
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